Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 1 of 11




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                             Judge Raymond P. Moore

                            Civil Action No. 19-cv-02594-RPM

   UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

                                         Plaintiff,

   v.

   MEDIATRIX CAPITAL INC., BLUE ISLE MARKETS INC. (St. Vincent & the Grenadines),
   BLUE ISLE MARKETS LTD., MICHAEL S. YOUNG, MICHAEL S. STEWART, and
   BRYANT E. SEWALL,

                                         Defendants,

   and

   MEDIATRIX CAPITAL FUND LTD., ISLAND TECHNOLOGIES LLC, VICTORIA M.
   STEWART, MARIA C. YOUNG, HANNA OHONKOVA SEWALL, MICHAEL C. BAKER,
   WALTER C. YOUNG III, ARUAL LP, WEST BEACH LLC, SALVE REGINA TRUST, TF
   ALLIANCE, LLC, CASA CONEJO LLC, HASE HAUS, LLC, DCC ISLANDS FOUNDATION,
   KEYSTONE BUSINESS TRUST, WEINZEL, LLC, THE 1989 FOUNDATION, MEDIATRIX
   CAPITAL PR LLC, MEDIATRIX CAPITAL, LLC, and BLUE ISLE MARKETS INC. (Cayman
   Islands),

                                         Relief Defendants.


   JOINT RENEWED MOTION TO PERMIT THE UNFREEZING OF CERTAIN ASSETS
          FOR LIVING EXPENSES AND THE PAYMENT OF ATTORNEYS FEES
           AND MOTION FOR TEMPORARY STAY OF DISCOVERY PENDING
                        THE RESOLUTION OF THIS MOTION
   _________________________

                                    Drohan Lee LLP
                                    Vivian R. Drohan
                                 5 Penn Plaza, 19th Floor
                                  New York, NY 10001
                                Telephone: 202-710-0004
                               E-Mail: vdrohan@dlkny.com

                 Attorneys for Bryant E. Sewall and Hanna Ohonkova Sewall
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 2 of 11




                                                     TABLE OF CONTENTS

   CERTIFICATE OF CONFERRAL ............................................................................................ 1
   INTRODUCTION AND PROCEDURAL BACKGROUND ................................................... 1
   LEGAL STANDARDS ................................................................................................................. 5
   ARGUMENT ................................................................................................................................. 5
   CONCLUSION ............................................................................................................................. 8




                                                                        ii
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 3 of 11




                                                            Table of Authorities

   Cases
   CFTC v. Gramalegui, 2016 U.S. Dist. LEXIS 19001 at 5-6 (D. Colo. Feb. 17, 2016) .................. 6
   Dowdell, 175 F. Supp. 2d at 854 (USDC Virginia 2001) ............................................................... 6
   Duclaud Gonzales de Castilla, 170 F.Supp.2d 427 (SD 2001) ...................................................... 7
   Gramalegui, 2016 U.S. Dist. LEXIS 19001 at 5-6 (D. Colo. Feb. 17, 2016)................................. 6
   SEC v. Am. Bd. Of Trade, Inc., 830 F.2d 431 (2d Cir. 1987) ......................................................... 5
   SEC v. Dowdell, 175 F. Supp. 2d 850, 855–56 (W.D. Va. 2001) ................................................... 7
   SEC v. Duclaud Gonzales de Castilla, 170 F. Supp. 2d 427, 429 (S.D.N.Y. 2001)....................... 5
   SEC v. Int’l Loan Network, Inc., 770 F. Supp. 678, 680 (D.D.C. 1991) ........................................ 7
   SEC v. Manor Nursing Ctrs., Inc., 458 F.2d 1082 (2d Cir. 1972) .................................................. 5
   SEC v. Quinn, 997 F.2d 287, 289 (7th Cir. 1993)........................................................................... 7
   SEC v. Unifund SAL, 917 F.2d 98 (2d Cir. 1990) ........................................................................... 5
   United States v. Jones, 160 F.3d 641 (10th Cir. 1998) ................................................................... 6
   United States v. Kahn, 890 F.3d 937, 940 (10th Cir. 2018)............................................................ 6
   Statutes

   F.R.C.P. 65 ..................................................................................................................................... iv




                                                                           iii
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 4 of 11




          Defendant Bryant Sewall (“Sewall” or “Defendant”), by and through undersigned counsel,

   hereby submit this Renewed Motion for Order permitting the unfreezing of certain assets. Relief

   Defendant Hanna Ohonkova Sewall joins in this motion in so far as the assets stated below may

   be jointly owned. In support thereof, the following is stated:

                                 CERTIFICATE OF CONFERRAL

   1.     Pursuant to D.C.COLO.LCiv R 7.1, counsel for Defendant Sewall has conferred with

   counsel for Plaintiff, the US Securities and Exchange Commission (the “SEC”) and Brick Kane

   from Robert Evans & Associates (the Receiver”), who are expected to oppose the requested relief.

                    INTRODUCTION AND PROCEDURAL BACKGROUND

   2.     Pursuant to F.R.C.P. 65, Sewall moves this Court for an order modifying the Preliminary

   Injunctive Order to release certain frozen assets. Plaintiff filed this emergency action under seal

   on September 12, 2019, alleging that Defendants operated a fraudulent currency and precious

   metals trading program. At the same time, Plaintiff filed an emergency motion for an ex parte asset

   freeze, a temporary restraining order, expedited discovery, and other emergency relief, which this

   Court granted. On October 23, 2019 the Court “So Ordered” the Stipulation between the parties

   permitting the asset freeze and agreeing to a preliminary injunction (the “Asset Freeze”) [Dkt #34

   and 38]. On September 11, 2020, the Court issued an Order appointing a receiver [Dkt 153].

   3.     Defendant contends that his ownership of certain of the frozen assets predates his

   involvement as a beneficial owner of any of the entity defendants (the “Entity Defendants”) and

   seeks to release those assets from the Asset Freeze. Additionally, it has become clear that Mr.

   Sewall is a target of a parallel criminal investigation being conducted by the Federal Bureau of

   Investigation, under the supervision of federal prosecutors at the U.S. Attorney’s Office for the

   District of Colorado, and that these prosecutors seek to secure an indictment imminently: In
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 5 of 11




   particular, Sewall, through his criminal defense counsel, Kenneth M. Harmon of Springer &

   Steinberg, initiated a dialogue with the Assistant U.S. Attorney assigned to the investigation, who

   confirmed that Sewall is indeed considered a target of the investigation, within the definition and

   meaning of the U.S. Department of Justice regulations,1 and that she intended to seek an indictment

   of Sewall for the same subject matters and conduct at issue in the instant case. At the time of this

   dialogue, the prosecutor indicted that a proposed indictment would be drafted imminently and

   would be presented in short order. 2 Therefore, Sewall’s concern about needing to defend against a

   parallel federal criminal prosecution is far from conjectural and his need to continue the

   engagement of criminal defense counsel familiar with this matter is critical for a proper and

   effective defense of the forthcoming prosecution. That the government’s interest in pursuing this

   matter criminally is more than theoretical at this point is further underscored, moreover, by its

   initiation of a criminal prosecution against one of Sewall’s co-defendant’s in the instant case,

   Michael S. Young (“Young”). As noted in his recent similar motion to modify the restraining order

   here to unfreeze his assets, on or about October 29, 2020, Young appeared before this Court to

   waive indictment and to agree to prosecution by way of information on a single felony count of

   making a false statement during the SEC’s pre-suit investigation of this case (See Case No. 20-cr-

   349, Docket Entries). 3 With respect to this civil enforcement action, complex security issues are

   present, discovery will be aggressively sought and similar to the statement in Young’s renewed



   1
     Citation to USAM re definition of “target”
   2
     This dialogue took place over the course of August and September 2020, and, though, as far as Sewall and
   counsel know, an indictment has yet to issue, there has been no suggestion to date that the federal criminal
   authorities have abandoned their interest in prosecuting this matter or their focus on Sewall as a target of the
   federal criminal prosecution. Rather, it appears likely that any delays in the presentation and isssuane of an
   indictment to date relate to difficulties in convening a federal grand jury to consider such a presentation in light of
   the COVID19 Pandemic and health and safety issues relating to conducting such proceedings during the pandemic.
   See U.S. Dist. Ct., Dist. Of Colorado, General Order     (directing that use of federal grand juries be suspended
   through ).
   3
     Michael S. Young is no longer defended by Drohan Lee LLP.

                                                              2
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 6 of 11




   motion to unfreeze, a motion for summary judgment will also be made on behalf of Sewall

   involving core legal issues.

   4.     In April, 2020, Sewall and Young made a motion to unfreeze certain assets [Dkt. 111].

   This motion was denied by Order of this Court dated June 25, 2020 [Dkt. 133] on the basis that

   Defendants had not demonstrated that certain assets were obtained outside the alleged fraud or

   were untainted. In addition, there was no proof that funds could not be obtained through alternate

   means. The motion that is being currently made on behalf of Sewall is based on substantially

   changed circumstances, to wit, proof that certain frozen assets are in fact untainted and that without

   release of certain funds, Sewall will be materially harmed in his defense and will likely be a public

   charge when he returns to the United States.

   5.     Mediatrix Capital Fund Ltd. (“Mediatrix”) was formed on September 14, 2016. Blue Isle

   Markets Limited (“Blue Isle Markets”) was incorporated in New Zealand on September 11, 2017

   as AMG Consultancy Limited. Its name was changed to Blue Isle Markets Limited on December

   6, 2018. Blue Isle Markets Inc. was incorporated on December 5, 2015. Sewall was not an original

   beneficial or direct owner of any of the corporate defendants until sometime in mid-2016.

   Attached as Exhibit A are copies of corporate documents.

   6.     In January 2016, Sewall had a total balance of $30,670 in his bank accounts: $11,433 at a

   USAA bank account and $19,237 at Service CU. No portion of these funds was derived from any

   of the Entity Defendants. At around this time Sewall owned home furniture which were purchased

   primarily in February through April of 2016, before any amounts were received from the Entity

   Defendants. Attached as Exhibit B and C are copies of various bank statements dated from early

   2016. Attached as Exhibit D is a furniture inventory list.




                                                     3
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 7 of 11




   7.     The following list sets forth assets that were acquired in 2016 without any contribution

   from funds received from the Entity Defendants:

                 August 2016: 2014 Dodge Ram, $23,650, 100% financed, monthly payments of

                  $400.53 per month, current value approximately $15,000.

                 August 2016: 2012 Jeep, $30,900, 100% financed, monthly payments of $612.89,

                  current value approximately $12,000.

                 September 2016: 2012 jet boat, $13,500, current value approximately $10,000.

   8.     In 2017, Sewall had $46,349 of deposits that were not funds received from the Entity

   Defendants. The funds were in part from the sale of a 2010 Camaro for $18,000 and 2008 Suzuki

   for $8,300. Attached as Exhibit E are bank statements relating to the sale and purchase of these

   vehicles. Finally, it is our contention that his veteran’s benefits should not have been frozen in the

   first place. USAA is currently holding $1,502.00 in frozen assets. These were received as part of

   his monthly benefits. Attached as Exhibit F is a copy of the USAA account.

   9.     Sewall had approximately $118,807 in total assets whether in cash or property prior to mid-

   2016. Currently, Sewall is married to a non-US resident whose visa to live in the United States

   has not yet been granted, and he is the father of a 10-month old daughter. He has no way of earning

   income and was receiving veteran’s disability benefits prior to the Asset Freeze. It is requested

   that Sewall be permitted to unfreeze $60,000 in cash and permitted to retain the furniture he

   purchased prior to mid-2016.

   10.    Unfreezing the above amount would allow Sewall to support his family and allow for

   payment of counsel of his choice to defend against this complex securities action, as well as what

   is now an imminent criminal indictment. In total, Sewall seeks the release of a total of $260,000

   to include payment for attorneys’ fees. That includes Drohan Lee LLP, as well as Mr. Harmon and



                                                     4
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 8 of 11




   his firm. With respect to legal fees, Mr. Harmon is currently billing Sewall at a discounted rate of

   $350.00. Drohan Lee is also billing Sewall at a discounted rate of $350.00. As the declaration of

   Sewall demonstrates, he has denied all allegations and intends to defend any criminal action. The

   amount of $175,000 sought in attorneys’ fees are reasonable. Mr. Harmon will have to defend a

   criminal action from start to finish and will require a retainer of over $100,000, and Drohan Lee

   already has outstanding amounts owed by Sewall of over $30,000. Discovery has not yet begun

   but is being aggressively sought for by Plaintiffs and the expected summary judgment motion by

   both Plaintiff and Defendant Sewall will likely take over fifty hours of attorney time.

                                        LEGAL STANDARDS

   11.    The decision to freeze or unfreeze assets is a discretionary matter left up to the court. (“It

   is well settled that this Court has authority to freeze personal assets temporarily and the corollary

   authority to release frozen personal assets or lower the amount frozen.” SEC v. Duclaud Gonzales

   de Castilla, 170 F. Supp. 2d 427, 429 (S.D.N.Y. 2001) (citing SEC v. Unifund SAL, 917 F.2d 98

   (2d Cir. 1990); SEC v. Am. Bd. Of Trade, Inc., 830 F.2d 431 (2d Cir. 1987); and SEC v. Manor

   Nursing Ctrs., Inc., 458 F.2d 1082 (2d Cir. 1972)). While the primary purpose of freezing assets

   is to facilitate compensation of investors in the event a violation is established at trial, “the

   disadvantages and possible deleterious effect of a freeze must be weighed against the

   considerations indicating the need for such relief.” Id. Here, the considerations weigh in favor of

   releasing limited assets to provide for living expenses and to pay for competent legal representation

   in a complex and complicated case where the assistance of defense counsel is necessary.

                                             ARGUMENT

   12.    Federal Courts will release previously frozen assets after balancing “[t]he defendant’s

   interest in having access to funds needed to pay ordinary and necessary living expenses… against



                                                    5
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 9 of 11




   the government’s interest in preventing the depletion of potentially forfeitable assets.” (citations

   omitted) CFTC v. Gramalegui, 2016 U.S. Dist. LEXIS 19001 at 5-6 (D. Colo. Feb. 17, 2016).

   13.    Sewall is seeking monies for basic living expenses in support of his family. He has denied

   all allegations and intends to defend the criminal action. He should not be forced to defend himself

   pro se or be forced to depend solely on a public defender, for what is clearly complex litigation,

   when he returns to the United States. As the Court noted in United States v. Jones, 160 F.3d 641

   (10th Cir. 1998), “to improperly impede this interest would likely work a permanent deprivation

   on a defendant-a defendant ‘needs the attorney now if the attorney is to do him any good.”

   (citations omitted) 160 F.3d at 647 (10th Cir. 1998). In United States v. Kahn, 890 F.3d 937, 940

   (10th Cir. 2018), the Court noted that “a restraining order issued under section 853(e)(1)(A)

   deprives one of property even though the assets named in the indictment are only frozen and may

   eventually be returned.” 890 F.3d at 940 (10th Cir. 2018) (citing Jones, 160 F.3d at 645). Such is

   the case here with the SEC restraining order issued. The Court in Kahn additionally noted “a

   restraining order that prevents a defendant from supporting herself and her family pending and

   during trial would likely work an injustice with constitutional implications.” Id.

   14.    When considering a request to release frozen assets, the courts may look at evidence of a

   defendant’s overall assets, and at whether the request by a defendant is for necessary living

   expenses and not luxuries. (“Courts will not approve the release of funds for living expenses that

   are found to be unnecessary or which, though necessary, are determined to be excessive.” (citations

   omitted) Id. at 6). See also Duclaud, 170 F.Supp.2d at 430. Courts have also refused to release

   assets when defendants have other sources of income. See Dowdell, 175 F. Supp. 2d at 854 (DC

   Virginia 2001). The US Supreme Court recognizes that impairments to property rights can have




                                                    6
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 10 of 11




   severe consequences “such as the default of a homeowner’s mortgage.” Connecticut v. Doehr, 501

   U.S. 1, 19, 111 S. Ct. 2105, 2116 (1991).

   15.     In addition, there is ample precedent of federal district courts releasing frozen assets for

   the purpose of paying for attorneys’ fees. See SEC v. Dowdell, 175 F. Supp. 2d 850, 855–56 (W.D.

   Va. 2001); SEC v. Quinn, 997 F.2d 287, 289 (7th Cir. 1993). In SEC v. Int’l Loan Network, Inc.,

   770 F. Supp. 678, 680 (D.D.C. 1991), a district court, against the background of an alleged Ponzi

   scheme and a prior asset freeze, granted a “modification of the asset freeze to permit defendants

   to retain counsel on their behalf.” See also, Duclaud Gonzales de Castilla, 170 F.Supp.2d 427 (SD

   2001). The reputation and resumes of the defense criminal counsel the individual defendants seek

   to pay are well established.4

   16.     Due Process is critical here as it should provide a meaningful opportunity to be heard

   before “grievous loss” is inflicted. There can hardly be more grievous a loss, at least in a civil case,

   than that which the individual defendants are facing. To deprive them of virtually any real

   opportunity to continue to present a defense and to force them to proceed on such unequal footing

   with the SEC, and possibly the DOJ, is to deprive them of their opportunity to be heard. See Jones,

   160 F.3d at 641. Citing Jones again, the Court in Kahn stated “…the defendant had an essential

   interest in the Sixth Amendment’s ‘qualified right to counsel of choice.’” 890 F.3d at 941 (citing

   Jones, 160 F.3d at 647. The right to counsel of choice “stems from a defendant’s right to decide

   what kind of defense he wishes to present, for the selection of one attorney over another can

   profoundly affect the course and outcome of trial.” Id. (citation and internal quotation marks

   omitted).



   4
      Ken Harmon of Springer & Steinberg          can       be   seen   at   https://www.springersteinberg.com/firm-
   overview/attorneys/kenneth-m-harmon/


                                                        7
Case 1:19-cv-02594-RM-SKC Document 187 Filed 11/16/20 USDC Colorado Page 11 of 11




                                            CONCLUSION

          For the foregoing reasons, it is respectfully requested that this Court grant Defendant’s

   motion to unfreeze limited assets in the amount of $260,000 to pay attorney fees and allow for

   personal financial support, in addition to such further and other relief granted by this Court.

          Respectfully submitted this 16th day of November 2020.


                                                         /s/ Vivian Rivera Drohan
                                                         Drohan Lee LLP
                                                         5 Penn Plaza, 19th Floor
                                                         New York, New York 10001
                                                         Telephone: (212) 710-0004
                                                         Fax: (212) 710-0003
                                                         E-Mail: vdrohan@dlkny.com

                                                         /s/ Jeffrey R. Thomas
                                                         Jeffrey R. Thomas
                                                         Thomas Law LLC
                                                         3773 Cherry Creek North Dr, Suite 600
                                                         Denver, CO 80209
                                                         Telephone: 720-330-2805
                                                         E-Mail: jthomas@thomaslawllc.com

                                                         Attorneys for Defendants Mediatrix Capital
                                                         Inc., Blue Isle Markets Inc. (St. Vincent &
                                                         the Grenadines), Blue Isle Markets Ltd.,
                                                         Michael S. Stewart, and Bryant Sewall and
                                                         Relief Defendants Victoria M. Stewart, and
                                                         Hanna Ohonkova Sewall




                                                     8
